Case 20-10940-LSS   Doc 725-2   Filed 12/20/21   Page 1 of 16




                     EXHIBIT 2
                          Case
                           Case20-10940-LSS
                                20-10940-LSS Doc
                                              Doc725-2
                                                  441 Filed
                                                       Filed 10/01/20
                                                             12/20/21 Page
                                                                      Page 12 of
                                                                              of 216




                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE

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                                                                   :
         In re                                                     :     Chapter 11
                                                                   :
         ALPHA ENTERTAINMENT LLC,                                  :     Case No. 20-10940 (LSS)
                                                                   :
                           Debtor.1                                :
                                                                   :     Ref. Docket No. 403
         ----------------------------------------------------------x

                       ORDER, PURSUANT TO SECTIONS 105 AND 363 OF THE
                  BANKRUPTCY CODE, AUTHORIZING THE DEBTOR TO ENTER INTO A
                    TRANSITION SERVICES AGREEMENT WITH ALPHA OPCO, LLC

                    Upon consideration of the motion (the “Motion”)2 of the above-captioned debtor and

         debtor in possession (the “Debtor”), for entry of an order pursuant to sections 105(a) and 363(b)

         of title 11 of the United States Code (the “Bankruptcy Code”), authorizing the Debtor to enter

         into a Transition Services Agreement with Alpha Opco, LLC (the “Agreement”), substantially in

         the form attached as Exhibit 1 hereto; and it appearing that this Court has jurisdiction over this

         matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference

         from the United States District Court for the District of Delaware dated as of February 29, 2012;

         and it appearing that the Motion is a core proceeding pursuant to 28 U.S.C. § 157 and the Court

         may enter a final order consistent with Article III of the United States Constitution; and venue

         being proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of

         the Motion having been provided; and it appearing that no other or further notice need be

         provided; and after due deliberation and sufficient cause appearing therefor,

                    IT IS HEREBY ORDERED THAT:

         1
           The last four digits of the Debtor’s federal tax identification number are 7778. The Debtor’s mailing address is
         1266 East Main St., Stamford, CT 06902.
         2
             Unless otherwise defined herein, all capitalized terms shall have the meanings ascribed to them in the Motion.
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                       Case20-10940-LSS
                            20-10940-LSS Doc
                                          Doc725-2
                                              441 Filed
                                                   Filed 10/01/20
                                                         12/20/21 Page
                                                                  Page 23 of
                                                                          of 216




                1.      The Motion is GRANTED as set forth herein.

                2.      Pursuant to sections 105(a) and 363(b) of the Bankruptcy Code, the Debtor is

         authorized to enter into and perform in accordance with the Agreement.

                3.      The Debtor and its officers, employees and agents are authorized to take, or

         refrain from taking, any and all such acts as are necessary and appropriate to implement and

         effectuate the relief granted herein.

                4.      Notwithstanding the provisions of Bankruptcy Rule 6004 or any other applicable

         Bankruptcy Rule, this Order shall not be stayed for fourteen days after the entry hereof but shall

         be effective and enforceable immediately upon entry, and the fourteen-day stay provided in such

         rule is hereby expressly waived and shall not apply.

                5.      This Court shall retain jurisdiction over any and all matters arising from or related

         to the interpretation or implementation of this Order.




                                                                  LAURIE SELBER SILVERSTEIN
                     Dated: October 1st, 2020                     UNITED STATES BANKRUPTCY JUDGE
                     Wilmington, Delaware




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              Case 20-10940-LSS   Doc 725-2
                                      441-1   Filed 12/20/21
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                                                    441-1         Filed 12/20/21
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                  Case 20-10940-LSS              Doc 725-2
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                        )RU SXUSRVHV RI WKLV $JUHHPHQW ³&RQILGHQWLDO ,QIRUPDWLRQ´ VKDOO PHDQ DQ\
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         SHUIRUPDQFH RI WKLV $JUHHPHQW LQFOXGLQJ PHWKRGV RI RSHUDWLRQ FXVWRPHUV FXVWRPHU OLVWV
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         PDUNHWLQJ PHWKRGV SODQV SHUVRQQHO VXSSOLHUV FRPSHWLWRUV PDUNHWV RU RWKHU VSHFLDOL]HG
         LQIRUPDWLRQ RU SURSULHWDU\ PDWWHUV SURYLGHG KRZHYHU ³&RQILGHQWLDO ,QIRUPDWLRQ´ GRHV QRW
         LQFOXGH DQG WKHUH VKDOO EH QR REOLJDWLRQ KHUHXQGHU ZLWK UHVSHFW WR LQIRUPDWLRQ WKDW D LV
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         FRQILGHQWLDOLW\DJUHHPHQWZLWKRURWKHUFRQWUDFWXDOOHJDORUILGXFLDU\REOLJDWLRQRIVHFUHF\
         WR %X\HU RU DQRWKHU SDUW\ E IURP RU DIWHU WKH GDWH VXFK LQIRUPDWLRQ EHFRPHV JHQHUDOO\
         DYDLODEOHWRWKHSXEOLF LQHDFKFDVHRWKHUWKDQDVDUHVXOWRIDGLVFORVXUHE\WKH5HFHLYLQJ
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         GLVFORVHDOORUDQ\SDUWRIWKH&RQILGHQWLDO,QIRUPDWLRQXQGHUWKHWHUPVRIDYDOLGDQGHIIHFWLYH
         VXESRHQD RU RWKHU UHTXHVW LVVXHG E\ D FRXUW RI FRPSHWHQW MXULVGLFWLRQ RU D JRYHUQPHQWDO
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         WLPH DV LWV SHUIRUPDQFH LV VXVSHQGHG RU GHOD\HG RQ DFFRXQW WKHUHRI  ,I %X\HU RU DQ\
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         GHWHUPLQDWLRQWKDWDQ\SURYLVLRQRIWKLV$JUHHPHQWLVLQYDOLGRUXQHQIRUFHDEOHWKH3DUWLHVVKDOO
         QHJRWLDWHLQJRRGIDLWKLQDQHIIRUWWRDJUHHXSRQDVXLWDEOHDQGHTXLWDEOHVXEVWLWXWHSURYLVLRQ
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